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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS



                                                                          Civil Action
                                                                          No: 06-11719-WGY

                                           THRELFALL
                                             Plaintiff

                                                 v.

                             WILSON CONSOLIDATION SERVICES
                                        Defendant



                             SETTLEMENT ORDER OF DISMISSAL

YOUNG, D.J.


           The Court having been advised on JUNE 4, 2007 that the above-entitled action has been
settled:
        IT IS ORDERED that this action is hereby dismissed without cost and without prejudice to
the right of any party, upon good cause shown, to reopen the action within thirty (30) days if
settlement is not consummated.


                                                                   By the Court,

                                                                   /s/ Elizabeth Smith

                                                                   Deputy Clerk




June 4, 2007


To: All Counsel
